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                              EXHIBIT 8
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              Transcript of the Deposition of
                 Cutberto Viramontes
Case: Cutberto         Viramontes; et al. v. The County of Cook; et al.
                      Taken On: February 9, 2022




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  Cutberto Viramontes; et al. v. The County of Cook; et al.
      Deposition of Cutberto Viramontes - Taken 2/9/2022

                                                                         Page 1
                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


        CUTBERTO VIRAMONTES, et al.,             )
                                                 )
                              Plaintiffs,        )
                                                 )
                         -vs-                    ) No. 1:21-CV-04595
                                                 )
        THE COUNTY OF COOK, et al.,              )
                                                 )
                              Defendants.        )




                          The deposition of CUTBERTO VIRAMONTES,
        taken pursuant to notice and the Federal Rules of
        Civil procedure for the United States District Courts,
        reported by Sally Durkin, Certified Shorthand Reporter
        and Notary Public within and for the County of Cook,
        State of Illinois, via videoconference from Chicago,
        Illinois, on Wednesday, February 9, 2022, at the hour
        of 9:30 o'clock a.m.




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                                                                         Page 2
   1     APPEARANCES VIA VIDEOCONFERENCE:
   2
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   4                  MR. PETE PATTERSON
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   7
                             On behalf of the Plaintiffs;
   8
   9
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  14
                             On behalf of the Defendants.
  15
  16                                   *****
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                                                                         Page 3
   1                                   I N D E X
   2
   3       WITNESS                                          PAGE          LINE
   4
   5            CUTBERTO VIRAMONTES
   6      Examination By Mr. Adelman                            6         12
   7
   8                                    EXHIBITS
   9
  10       EXHIBITS                                         PAGE           LINE
  11
  12     Exhibit No. 1                                         10         21
  13
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                                                  Page 4                                                       Page 6
   1      THE REPORTER: Before we proceed, I'll ask counsel      1      MR. ADELMAN: And also if you need a break at any
   2   to agree on the record that under the current national    2   time, just let me know. It's not a problem.
   3   emergency pursuant to Section 319 of the Public Health    3            But if there is a question pending, you
   4   Service Act, there is no objection to this deposition     4   have to finish answering the question first before we
   5   officer administering a binding oath to the witness       5   go ahead and break.
   6   remotely.                                                 6            Understand?
   7            Please state your agreement on the               7      THE WITNESS: Yes.
   8   record.                                                   8               CUTBERTO VIRAMONTES,
   9      MR. ADELMAN: This is David Adelman on behalf of        9          having been first duly sworn, was
  10   the defendants. We agree.                                10          examined and testified as follows:
  11      MR. BERGSTROM: This is Will Bergstrom on behalf       11                  EXAMINATION
  12   of plaintiffs. We agree.                                 12   BY MR. ADELMAN:
  13              (Witness sworn.)                              13      Q. Okay. All right. Can you state your name
  14      MR. ADELMAN: All right. Good morning,                 14   for the record?
  15   Mr. Viramontes.                                          15      A. Cutberto Viramontes.
  16            How are you?                                    16      Q. Okay. And do you have a middle name?
  17      THE WITNESS: Good morning.                            17      A. No.
  18      MR. ADELMAN: You were a little frozen there for a     18      Q. Okay. And what is your date of birth?
  19   minute.                                                  19      A. January 25, 1990.
  20      THE WITNESS: Yeah. I am sorry. I'm using Wi-Fi.       20      Q. And what is your address?
  21      MR. ADELMAN: Okay. This deposition is of              21      A.                                            ,
  22   Cutberto Viramontes, one of the plaintiffs in the        22   Chicago, Illinois         .
  23   Viramontes, et al versus County of Cook, et al,          23      Q. Is that a house or apartment?
  24   21-cv-04595, pending in the United States District       24      A. Apartment.


                                                  Page 5                                                       Page 7
   1   Court for the Northern District of Illinois before        1     Q. All right. Have you ever been known by any
   2   District Court Judge and Chief Judge Rebecca              2   other name?
   3   Pallmeyer.                                                3     A. No. Well, Bert is a nickname I have at work.
   4            My name is David Adelman, and I'm                4   Short for Cutberto.
   5   representing the defendants that you have sued.           5     Q. How do you spell that?
   6            Mr. Viramontes, I will be asking you a           6     A. B-E-R-T.
   7   number of questions which you have to answer              7     Q. Okay. So why do you have that nickname at
   8   truthfully since you are under oath.                      8   work?
   9            If you do not understand any questions,          9     A. Because it's short for Cutberto. My name is
  10   you know, please let me know, and I'll be happy to       10   long and hard to pronounce for some.
  11   rephrase it. But if you -- but on the same token, if     11     Q. I see. And do you live with anyone?
  12   you give an answer, then I'll assume you understood      12     A. Yes. My brother. My sibling and my mother.
  13   it.                                                      13     Q. And what is your brother's name?
  14            Is that fair?                                   14     A. Alfredo Arroyo.
  15       THE WITNESS: I understand. Yes.                      15     Q. And what is your mother's name?
  16       MR. ADELMAN: Okay. And when you do make an           16     A. I am sorry. Did you ask --
  17   answer, please answer so we can hear you.                17     Q. What's your mother's name?
  18            The court reporter cannot take down a           18     A. Rosa Maria Viramontes.
  19   shake of the head or --                                  19     Q. Let's see. How long have you lived there?
  20       THE WITNESS: Okay.                                   20     A. Maybe three years.
  21       MR. ADELMAN: -- a shrug of the shoulder. It has      21     Q. Okay. So it would be in 2019 you moved
  22   to be a yes or no or articulate the answer.              22   there?
  23            Okay?                                           23     A. That sounds right.
  24       THE WITNESS: Okay.                                   24     Q. Okay. Where did you live before then?


                                                                                        4 (Pages 4 to 7)
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   1      A. I lived in -- not much further. Maybe like             1         Did you review any documents to prepare for
   2   10 minutes east over in McKinley Park.                       2   this deposition?
   3      Q. How long did you live there?                           3      A. I pulled one document, the complaint. But
   4      A. Maybe five years.                                      4   this was just a few minutes ago.
   5      Q. What's the address, do you remember?                   5     Q. But you didn't review anything else for the
   6      A.                               , I believe.             6   deposition?
   7      Q. Okay. And you said that the place you were             7     A. For the deposition other than this, no.
   8   living now at                             is an apartment    8     Q. Okay. Okay. Did you speak with anyone else
   9   building, correct?                                           9   about this deposition?
  10      A.       . It's an apartment.                            10     A. My mother knows that I have this going on
  11      Q. How many apartments are in that building?             11   here in my room, but that's it.
  12      A. It's two. Just a top and a bottom floor.              12     Q. All right. Do you have the complaint before
  13      Q. Okay. So how are you feeling today?                   13   you or with you right now?
  14      A. I'm feeling well, good.                               14     A. I have it here on the monitor on my desktop,
  15      Q. Do you have any conditions that would impair          15   yes.
  16   your memory?                                                16     MR. ADELMAN: Okay. Actually, Ms. Court Reporter,
  17      A. No.                                                   17   you have it.
  18      Q. Okay. So are you able to testify accurately           18            Can you share your screen?
  19   today?                                                      19            So showing you what will be marked as
  20      A. Yes.                                                  20   Exhibit No. 1.
  21      Q. Okay. Are you taking any medication that              21        (Whereupon, Exhibit No. 1
  22   would interfere with your memory?                           22         was identified.)
  23      A. No.                                                   23   BY MR. ADELMAN:
  24      Q. Do you have any medical conditions that might         24     Q. Do you recognize what this document is?


                                                    Page 9                                                        Page 11
   1   interfere with your memory?                                  1       A. Yes. The complaint.
   2      A. No.                                                    2       Q. What is it?
   3      Q. Okay. Now, did you prepare for this                    3       A. The complaint.
   4   deposition?                                                  4       Q. Okay. Now, who prepared this complaint? Was
   5      A. I spoke with my attorneys before.                      5   this prepared by your attorneys?
   6      Q. Okay. Now, I'm not asking what you talked              6       A. Yes.
   7   about. That's privileged, and I am not going to ask          7       MR. ADELMAN: Okay. Now, can you go to the last
   8   you about that.                                              8   page, Ms. Court Reporter?
   9         But how many times did you meet with your              9   BY MR. ADELMAN:
  10   attorney?                                                   10       Q. So you did not sign this document, correct?
  11      A. Most recently, just once.                             11       A. I am sorry. One moment.
  12      Q. You said most recently?                               12       Q. Okay. Did you sign the complaint before it
  13      A. Uh-huh.                                               13   was filed?
  14      Q. How many times have you met?                          14       A. I did sign something. I don't think this is
  15      A. Well, we have had correspondence through              15   the copy that I signed.
  16   email.                                                      16       Q. Okay. Did you read the complaint before it
  17      Q. Okay. And so before the deposition you only           17   was filed?
  18   met with your attorney once?                                18       A. I did.
  19      A. Face-to-face, yes.                                    19       Q. Okay. And did you make sure it was accurate
  20      Q. Okay. Was this at his office or by Zoom?              20   before it was filed?
  21      A. Also through Zoom remotely, yes.                      21       A. I did.
  22      Q. And did you review any documents?                     22       MR. ADELMAN: All right. Ms. Court Reporter, you
  23      A. Not during the meeting.                               23   can take it down for now. We'll need it back up in a
  24      Q. Sorry. We're talking over each other.                 24   little bit.



                                                                                         5 (Pages 8 to 11)
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   1   BY MR. ADELMAN:                                        1   two years.
   2      Q. Okay. Do you know Rubi Joyal -- that's           2     Q. Okay. So why did you join both the Second
   3   R-U-B-I. J-O-Y-A-L -- one of your co-plaintiffs?       3   Amendment Foundation and Firearms Policy Coalition?
   4      A. I've not met her personally, but I've read       4     A. I wanted to join some groups that were very
   5   the individuals involved in this lawsuit.              5   active in Chicago --
   6      Q. Okay. So Rubi Joyal is a male or a female?       6      Q. Sorry. You cut out.
   7      A. As I said --                                     7      A. -- about second amendment rights.
   8      Q. You kind of froze there.                         8         And I haven't been a big fan of the NRA. I
   9      A. Oh, Rubi, I have never met her in person. So     9   don't like the way that they're run and they handle
  10   I don't know. These are people that I only know       10   things.
  11   through the paperwork. I've never, like, interacted   11         And these two organizations seemed to have
  12   with them in person.                                  12   played a big role in the McDonald case allowing us to
  13      Q. Okay. So you don't have any sort of             13   have pistols here in Chicago, and that's why I decided
  14   relationship with Rubi whether friends or --          14   to join them because I like their work for that.
  15      A. Correct.                                        15     Q. So how did you find out about each of them?
  16      Q. What about Christopher Khaya -- that's          16     A. When I was looking for an alternative in
  17   K-H-A-Y-A -- the other co-plaintiff?                  17   supporting the Second Amendment Organization other
  18      A. Same situation. No personal relationship.       18   than the NRA, I researched, and I came across these
  19      Q. Okay. Have you ever spoken with Christopher?    19   two.
  20   Have you ever spoken with Christopher?                20     Q. So now this is a yes-or-no question.
  21      A. No.                                             21       Was it your idea to file this lawsuit?
  22      Q. And have you ever spoken to Rubi?               22     A. No.
  23      A. No.                                             23     Q. Okay. I guess that's a yes-or-no question.
  24      Q. Do you know what the Second Amendment           24     A. Uh-huh.


                                              Page 13                                                           Page 15
   1   Foundation is?                                         1     Q. Was filing this lawsuit, to your knowledge,
   2      A. Yes.                                             2   an idea from the Second Amendment Foundation?
   3      Q. And are you a member?                            3     MR. BERGSTROM: Objection. Form.
   4      A. I am.                                            4   BY MR. ADELMAN:
   5      Q. And how long have you been a member?             5     Q. To the best of your knowledge?
   6      A. Maybe two years.                                 6       If you don't know, then say you don't know.
   7      Q. Okay. So what does membership entail for         7     A. Not that one in particular.
   8   you?                                                   8     Q. Okay. Was filing this lawsuit an idea of
   9      A. I am sorry. You got cut off there.               9   someone at the Firearms Policy Coalition?
  10      Q. I asked, what does membership entail for you?   10     MR. BERGSTROM: Objection. Form.
  11      A. All they do is I pay them dues, and they        11   BY MR. ADELMAN:
  12   fight for our Second Amendment rights.                12     Q. You can answer.
  13      Q. Okay. Do you have any involvement in the        13     A. To my knowledge, it was the Firearms Policy
  14   activities of the foundation?                         14   Coalition.
  15      A. Outside of this, no.                            15     Q. Who at the Firearms Policy Coalition were you
  16      Q. And when you say this, you mean this lawsuit?   16   referring to?
  17      A. They're involved, yes.                          17     A. No individual in particular.
  18      Q. And do you know the Firearms Policy             18     THE REPORTER: The witness keeps buffering.
  19   Coalition, Inc.?                                      19     MR. ADELMAN: Yeah. I was going to ask you,
  20      A. Yes.                                            20   Ms. Court Reporter, if you got that.
  21      Q. Are you a member of that?                       21     THE REPORTER: There has been a couple times where
  22      A. Yes.                                            22   he keeps buffering.
  23      Q. How long have you been a member?                23   BY MR. ADELMAN:
  24      A. I joined about the same time. So also about     24     Q. Can you repeat that, Mr. Viramontes?



                                                                                  6 (Pages 12 to 15)
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   1      A. I am sorry. What was the question again?            1      A. I didn't really have a sense of direction,
   2      MR. ADELMAN: Can you read it back?                     2   and it was very expensive, and I wasn't comfortable
   3         (The record was read as requested.)                 3   taking on that much debt for something I wasn't sure I
   4      THE WITNESS: Okay. That is all I said, and no          4   was going to do.
   5   one in particular. I didn't say anything after that.      5      Q. Have you had any certification or training
   6   BY MR. ADELMAN:                                           6   since then?
   7      Q. Okay. You had mentioned that you joined             7      A. I became a realtor for a little bit.
   8   these organizations, or one of the reasons was because    8      Q. We'll get into that in a minute. All right.
   9   you did not like the policies of the National Riffle      9   Let's talk about your employment.
  10   Association.                                             10         Are you currently employed?
  11         Do you recall saying that?                         11      A. Yes.
  12      A. I just don't think they're very effective and      12      Q. Where do you work?
  13   well run.                                                13      A. Onward Technologies.
  14      Q. Okay. So why do you say that?                      14      Q. What is it called?
  15      A. They have -- they give up a little bit too         15      A. Onward Technologies.
  16   easy in terms of some of our rights. It seems like       16      Q. Okay. And when did you start there?
  17   they've had a lot of issues with misuse of funds.        17      A. Maybe four years ago.
  18   Instead of using it towards legislation, they use it     18      Q. So it would be what year?
  19   for their own personal use sometimes. It seems to be     19      A. I think it was '17.
  20   on the news a lot. So that's one of the reasons why I    20      Q. 2017?
  21   wanted a different --                                    21      A. Sounds right, yes.
  22      Q. What do you base that on?                          22      Q. Okay. So what position do you have there?
  23      A. -- a different organization. The use of            23      A. I'm the administrative assistant, office
  24   those funds for illegal, these are just things I have    24   manager, I guess.


                                                Page 17                                                       Page 19
   1   read online.                                              1     Q. And what was your previous employer?
   2       Q. Is there any policy of the NRA that you do         2     A. At the time it was called Zugress Security.
   3   not like?                                                 3     Q. How do you spell that?
   4       A. In particular the policies, not so much.           4     A. Z-U-G-R-E-S-S.
   5   It's just the misuse of funds that I have an issue        5     Q. Where is that?
   6   with.                                                     6        Actually, going back to Onward, where is
   7       Q. All right. Let's talk about your background        7   Onward located, what city?
   8   a little bit.                                             8     A. I am sorry. One more time. You cut off.
   9          What is your highest level of education?           9     Q. Where is Onward located?
  10       A. Three years of college.                           10     A. It's in Michigan Plaza in the loop.
  11       Q. Okay. And where at?                               11     Q. Do you know the address?
  12       A. St. Xavier University.                            12     A. 233 North Michigan.
  13       Q. Did you graduate?                                 13     Q. That's in Chicago?
  14       A. I did not.                                        14     A. Yes.
  15       Q. Are you currently enrolled in college?            15     Q. Okay. And Zugress Security, where is that
  16       A. No.                                               16   located?
  17       Q. And when did you attend St. Xavier?               17     A. That was in the South Loop on Wells.
  18       A. Ten years ago.                                    18     Q. Do you know the address for that -- for
  19       Q. So?                                               19   Zugress?
  20       A. So 2011-12. Around there.                         20     A. I do not remember. It's in the Cacciatore
  21       Q. What was your major?                              21   Building.
  22       A. General biology.                                  22     Q. Can you spell that building? Do you know?
  23       Q. Okay. So how come you stopped going to            23     A. I'm not sure. I can try to spell it.
  24   school?                                                  24   C-A-C-I-A-T-O-R-E. I'm not sure if that's correct.


                                                                                   7 (Pages 16 to 19)
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    1     Q. So what did you do for Zugress?                   1     A. Several years. I would just be guessing. I
    2     A. I worked in the payroll department.               2   would say maybe six, seven years.
    3     Q. So when did you start at Zugress, and when        3     Q. So why did you get a FOID card?
    4   did you leave?                                         4     A. Yes.
    5     A. Well, I was there for another five years. So      5     Q. No. Why did you get a FOID card?
    6   going back from starting in 2017 onward. So maybe      6     A. Oh, because I wanted to own a firearm.
    7   2002. Or '12, I mean.                                  7     Q. Why did you own one?
    8     Q. So you were there from 2012 to 2017?              8     A. Self-defense.
    9     A. Yes. And I switched to Onward.                    9     Q. Does anyone else in your household have a
   10     Q. Okay. And during those five years, you were      10   FOID card?
   11   always in the payroll department?                     11     A. Not that I know of.
   12     A. Yes.                                             12     Q. Did you have to go through any training in
   13     Q. Okay. Now, did you work anywhere before          13   order to get the FOID card?
   14   Zugress?                                              14     A. I'm sorry.
   15     A. No. That was my first place.                     15     Q. Did you have to go through any firearms
   16     Q. Okay.                                            16   training in order -- or any other sort of training to
   17     A. My first job.                                    17   get a FOID card?
   18     Q. Have you had any law enforcement training?       18     A. Not the FOID card, no.
   19     A. No.                                              19     Q. Did you have any sort of firearms-related
   20     Q. Have you ever been employed by law               20   training before getting the FOID card?
   21   enforcement?                                          21     A. Not before.
   22     A. No.                                              22     Q. All right. Now, you know Chicago has a
   23     Q. Have you ever volunteered for any law            23   conceal carry card, correct?
   24   enforcement department or agency?                     24     A. I am sorry.


                                               Page 21                                                     Page 23
    1      A. No.                                              1      Q. Concealed carry, you have to have a special
    2      Q. Have you ever been in the military?              2   card just like the FOID card, correct?
    3      A. No.                                              3      A. Correct.
    4      Q. Okay. You know, I have to ask this.              4      Q. Okay. Do you have a concealed carry card?
    5         Have you ever been convicted of a crime?         5      A. Yes.
    6      A. No.                                              6      Q. All right. When did you get that?
    7      Q. Have you ever been arrested for a crime?         7      A. Maybe two years ago.
    8      A. No.                                              8      Q. So in what year?
    9      Q. Have you ever had any medical or first-aid       9      A. 2020.
   10   training?                                             10      Q. Do you know what month?
   11      A. No.                                             11      A. I am sorry.
   12      Q. Okay. Do you have -- you know what a FOID       12      Q. Do you know what month in 2020 you obtained
   13   card is, right, F-O-I-D?                              13   your conceal carry card?
   14      A. Yes.                                            14      A. No, I don't remember the month.
   15      Q. And what would you describe it as?              15      Q. Okay. And now the concealed carry card that
   16      A. It is a card that the state issues that says    16   you obtained, is that issued by the state or by
   17   I am able to own a firearm.                           17   Chicago?
   18      Q. Okay. And the FOID is an acronym, correct,      18      A. By the state, I believe.
   19   for Firearm --                                        19      Q. Okay. So why did you get a concealed carry
   20      A. Firearm Owner's Identification Card, I think.   20   card?
   21      Q. Okay. So when did you get it? When did you      21      A. Also because I wanted to carry a firearm for
   22   get the FOID card?                                    22   self defense in public.
   23      A. I cannot remember.                              23      Q. Does anyone else in your household have a
   24      Q. How long have you had it for?                   24   concealed carry card?


                                                                                 8 (Pages 20 to 23)
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    1     A. Not that I'm aware of.                              1   are just those two, 8-hour classes, correct?
    2     Q. Was any training required of you in order for       2     A. As far as professional training, yes.
    3   you to obtain the concealed carry card?                  3     Q. What do you mean in terms of professional
    4     A. Yes.                                                4   training?
    5     Q. What is the training?                               5     A. I mean, everything else is just me going to
    6     A. From what I remember, it consists of two,           6   the range and using my own -- just learning things on
    7   8-hour classes. So 16 hours total.                       7   my own.
    8     Q. And did you complete the two, 8-hour classes?       8     Q. What range do you commonly go to?
    9     A. Yes.                                                9     A. I go to Midwest Guns.
   10     Q. Okay. And what did the classes consist of?         10     Q. And where is that located?
   11     A. Going over fundamentals, unloading and             11     A. In Lyons.
   12   loading a firearm, the functions. There was an actual   12     Q. Lyons, Illinois?
   13   shooting test at the end at the range.                  13     A. Yes.
   14     Q. Now, did you have to have some sort of             14     Q. And so is that a shooting range, or describe
   15   accuracy or a minimum level of accuracy in order to     15   the place?
   16   pass?                                                   16     A. It's a shooting range and gun store.
   17     A. There was.                                         17     Q. And do you bring your own weapon there, or do
   18     Q. And what was the accuracy requirement?             18   you rent weapons from there?
   19     A. I do not remember.                                 19     A. You are allowed to do both. I usually --
   20     Q. Do you remember what your score was?               20     Q. What do you do?
   21     A. I do not remember.                                 21     A. I usually just bring my own.
   22     Q. So where did you take the class at? Yeah.          22     Q. Now, do you get any sort of instruction while
   23   The two, 8-hour classes, where did you take them at?    23   you're there?
   24     A. I do not remember the instructor's business.       24     A. I mean, just the basic safety tips same as


                                                Page 25                                                       Page 27
    1   It was a place I found online. I remember that.          1   anywhere else. No double tapping, no rifles, no cell
    2      Q. Do you remember -- so you don't remember the       2   phones.
    3   name of the place?                                       3      Q. So is this someone actually telling you this,
    4      A. I don't remember the name of the place, no.        4   or is it just like a sign on a wall?
    5      Q. All right. Where was it located?                   5      A. I mean, there is a sign on the wall. But
    6      A. I mean, I have the certificate with                6   there is also the range officer that kind of sits
    7   everything on it. It was -- I remember it was quite      7   behind us watching everything, make sure no rules are
    8   south. Maybe like 20 miles south. That's all I           8   violated.
    9   remember.                                                9      Q. All right. So other than having someone sit
   10      Q. But you don't remember the town that it was       10   behind and make sure no rules are violated, do you
   11   in?                                                     11   receive any sort of advice or guidance or instruction
   12      A. I don't remember what town.                       12   while you're using the gun range?
   13      Q. 20 miles south. So was that still in Cook         13      A. No.
   14   County?                                                 14      Q. So basically you're figuring it out for
   15      A. I mean, Cook County is very large.                15   yourself how to use the weapon, correct?
   16      Q. I know. That's why I am asking.                   16      A. Correct.
   17      A. I am not sure. It very well could be. I           17      Q. Okay. All right. So what type of firearms
   18   don't know.                                             18   do you -- well, you talked about bringing your own
   19      Q. Okay. Now, other than the two, 8-hour             19   weapon.
   20   classes you were describing for your concealed carry    20          What weapon would you bring to Midwest Guns?
   21   card, have you ever had any other type of firearm       21      A. I would bring a Glock 19.
   22   training?                                               22      Q. Do you own any other firearms?
   23      A. No.                                               23      A. No. Just that.
   24      Q. All right. So all the training you've had         24      Q. When did you buy it?



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    1      A. Well, like pretty much right around the same       1     Q. Have you ever seen -- now, I'm not talking
    2   time I got my FOID card. Soon after.                     2   about on TV or whatever, but have you ever seen in
    3      Q. So that would be six or seven years ago now?       3   person someone suffer from a gunshot wound?
    4      A. Yes.                                               4     A. No. Not in person.
    5      Q. Okay. And how much did it cost you?                5     Q. Have you ever seen someone with a gunshot
    6      A. I am sorry. One more time?                         6   wound -- you said not in person.
    7      Q. How much did you pay for the Glock 19?             7       So have you ever seen someone with a gunshot
    8      A. From what I remember maybe between 5- and          8   wound either on TV or over the computer?
    9   $600.                                                    9     A. Yes.
   10      Q. Okay. And where did you buy it?                   10     Q. Okay. And I'm not talking about a Hollywood
   11      A. That same place, Midwest Guns.                    11   produced TV show. I mean, like a real gunshot wound?
   12      Q. All right. The Glock 19 is a handgun,             12     A. I've seen some police cam footage.
   13   correct?                                                13     Q. Okay. And where did you see police cam
   14      A. Correct.                                          14   footage?
   15      Q. Would it be classified as a semiautomatic, or     15     A. On the internet.
   16   no?                                                     16     Q. What website?
   17      A. Yes.                                              17     A. No particular website that comes to mind.
   18      Q. It is a semi?                                     18   Just Googling it, and it comes up.
   19      A. I think so.                                       19     Q. So if you want to watch something like that,
   20      Q. So what about the Glock 19 makes it               20   where would you go to see it?
   21   considered a semiautomatic?                             21     A. I just Google. If something happens, the
   22      A. Pull the trigger once, it fires once.             22   search engine will take me to the appropriate site.
   23      Q. That can be said of revolvers too. So what        23    Q. Well, did you make a specific effort to
   24   is it about the Glock that makes it considered a        24   Google this kind of footage?


                                                Page 29                                                         Page 31
    1   semiautomatic?                                           1      A. Yes.
    2      A. My understanding is just there is just             2      Q. Why did you do that?
    3   semiautomatic and full autos. Semiautomatic is just      3      A. Curiosity.
    4   with each pull one bullet is fired as opposed to a       4      Q. Why were you curious?
    5   full automatic one, you pull it once, and it keeps       5      A. It was getting a lot of media attention.
    6   firing.                                                  6      Q. Let's back up.
    7      Q. I see. So what made you decide to buy that         7         So what was the media attention you are
    8   Glock 19 as opposed to some other type?                  8   referring to that made you --
    9      A. I liked the caliber. I have a preference for       9      MR. BERGSTROM: Objection. Relevance.
   10   9 millimeter because, as I understand, it's as          10   BY MR. ADELMAN:
   11   effective as say a 45, but it's more widely produced.   11      Q. He can answer.
   12   So it's cheaper, and ammo is more available.            12      A. I'm referring to the Toledo shooting.
   13          And I like the size of the weapon. It's not      13      Q. Okay. And so what about it made you want to
   14   too big, and it's not too small. So it's kind of in     14   Google police cam footage?
   15   the middle. I think makes it ideal for concealed        15      A. Just --
   16   carry.                                                  16      MR. BERGSTROM: Objection.
   17      Q. So what's the purpose of you having the Glock     17      THE WITNESS: As I stated, it was getting a lot of
   18   19?                                                     18   attention, and I wanted to see for myself what
   19      A. Self defense.                                     19   happened.
   20      Q. All right. Have you ever had to use your          20   BY MR. ADELMAN:
   21   Glock 19 in self defense?                               21      Q. Okay. Now, in this police cam footage you
   22      A. No. I never had to use it. Fortunately, no.       22   are talking about, was this footage of the Toledo
   23      Q. Have you ever shot anyone with it?                23   shooting?
   24      A. No.                                               24      A. Yes.


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    1      Q. Okay. Now, did you actually see a gunshot         1   gunshot wounds?
    2   injury when you were watching?                          2     A. Right.
    3      MR. BERGSTROM: Same objection.                       3      Q. All right. Do you consider yourself
    4   BY MR. ADELMAN:                                         4   knowledgeable about handguns?
    5      Q. You can answer.                                   5      A. I feel like I still have more to learn, but I
    6      A. I'm trying to remember, and I don't remember      6   think I'm adequately knowledgeable.
    7   if you actually see the wound.                          7      Q. So how have you tried to educate yourself on
    8      Q. Okay. Well, so when I ask you if you have         8   handguns?
    9   ever -- all right. Well, maybe I wasn't specific        9      A. Usually -- sometimes I read books, and
   10   enough when I asked you if you saw someone in person   10   sometimes I watch YouTube videos from other people who
   11   or saw someone on some other medium with a gunshot     11   seem to be experts in that. And, of course, practice
   12   wound.                                                 12   as well at the range.
   13          Have you actually seen a gunshot wound          13     Q. So what are the different kinds of handguns?
   14   itself, whether on TV or computer? And you said not    14     A. What do you mean? You mean like revolvers
   15   in person.                                             15   and the standard striker handguns?
   16          But on any of those mediums have you ever       16      Q. Whatever you know. What types of handguns do
   17   seen an actual gunshot wound?                          17   you know of?
   18      MR. BERGSTROM: Objection. Relevance. And I'll       18      A. I mean, it's pretty -- I don't know what in
   19   just leave that for the whole line of questioning.     19   particular you want me to say. I know there is
   20   BY MR. ADELMAN:                                        20   revolvers. There is standard handguns of various
   21      Q. Yeah. You can still answer.                      21   calibers. There is different manufacturers. Then I
   22      A. Yes, I have still seen them.                     22   listed some of those manufacturers like Smith &
   23      Q. Okay. All right. Based on your testimony         23   Wesson --
   24   that rules out your video of the Toledo shooting.      24      THE REPORTER: He keeps buffering.


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    1          So what footage are you referring to when you    1     THE WITNESS: -- and SIG Sauer, Glock.
    2   said you have seen an actual bullet wound?              2            I stated those specific manufacturers
    3      A. I have seen sometimes videos of accidents         3   such as SIG Sauer, Smith & Wesson, and Glock.
    4   that people have had.                                   4   BY MR. ADELMAN:
    5      Q. And these videos show the actual wound?           5     Q. Six-Hour, you said?
    6      A. You see them kind of grabbing and blood, and      6     A. SIG Sauer.
    7   sometimes you see pictures.                             7     Q. And Glock?
    8      Q. Okay. And do you remember what websites           8     A. Yeah.
    9   you've gone to to see these?                            9     Q. Do you know the difference between a
   10      A. A lot of time they just pop up randomly.         10   centerfire pistol and a rimfire pistol?
   11   Possibly I read it. I may have seen it.                11     A. Yes.
   12      Q. How many of these videos or pictures have you    12     Q. What is the difference?
   13   seen?                                                  13     A. I believe it refers to where the pin strikes
   14      A. Not too many.                                    14   the bullet, whether it's right in the center or as
   15      Q. Well, can you give me an estimate, like four,    15   opposed to more towards the edge.
   16   five, ten, one? What would you estimate?               16     Q. What are the advantages of having a
   17      A. That's about right.                              17   centerfire pistol over a rimfire pistol?
   18      Q. Can you give me a number, four or five?          18     MR. BERGSTROM: Objection. Form. You can answer.
   19      A. Four or five.                                    19     MR. ADELMAN: Well, let me rephrase it.
   20      Q. Okay. But you said you've never seen a           20   BY MR. ADELMAN:
   21   gunshot wound in person, correct?                      21     Q. Do you know what the advantages of having a
   22      A. Not in person, correct.                          22   centerfire pistol are?
   23      Q. Okay. So would it be fair to say you don't       23     A. Specifically, typically --
   24   really have any experience with people who have        24     THE REPORTER: Counsel, I didn't get that answer.



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    1      THE WITNESS: No.                                       1       A. It's a weapon in which you pull the trigger
    2   BY MR. ADELMAN:                                           2   once, and it continuously fires more than one round
    3      Q. Okay. When I asked you --                           3   out of it.
    4      A. No. I said no.                                      4       Q. All right. So what are the advantages of
    5      Q. Okay. Do you know the disadvantages of              5   having -- so what advantage does an automatic weapon
    6   having a centerfire pistol?                               6   have over a semiautomatic weapon?
    7      A. I am not aware of disadvantages.                    7       MR. BERGSTROM: Objection. Form.
    8      Q. Okay. Now, about the rimfire pistol, do you         8       THE WITNESS: Well, in terms of advantages, I
    9   know any advantages of having a rimfire pistol?           9   guess one would see the increased firepower as a
   10      MR. BERGSTROM: Objection. Relevance.                  10   possible advantage.
   11   BY MR. ADELMAN:                                          11   BY MR. ADELMAN:
   12      Q. You can answer.                                    12       Q. All right. And so you had mentioned that you
   13      A. No.                                                13   used a Glock or that you purchased a Glock for self
   14      Q. And do you know any disadvantages of having a      14   defense.
   15   rimfire pistol?                                          15         And you mentioned that an advantage of
   16      MR. BERGSTROM: Same objection.                        16   automatic weapons would be an increase of firepower.
   17   BY MR. ADELMAN:                                          17         So would an increase of firepower be an
   18      Q. You can answer.                                    18   advantage in a self defense situation?
   19      A. No.                                                19       A. To an extent, but not -- I would not want
   20      Q. In terms of firearms, round capacity, is it        20   full auto for self defense, if that's what you mean.
   21   fair to say that means how many bullets any particular   21       Q. Why not?
   22   firearm can accommodate at one time?                     22       A. I find full autos to be too unpredictable.
   23      A. Yes.                                               23   It's more recoil, hard to control. I think semi-auto
   24      Q. Is there a difference in round capacity            24   is more advantageous for self defense. You have


                                                 Page 37                                                      Page 39
    1   between a centerfire pistol and a rimfire pistol?         1   better control of the weapon.
    2      MR. BERGSTROM: Objection. Relevance.                   2      Q. So you said semiautomatic is better to
    3   BY MR. ADELMAN:                                           3   control?
    4      Q. If you know.                                        4      A. Yes.
    5      MR. BERGSTROM: When I object, Cutberto, you can        5      Q. And so what's the round capacity of your
    6   just answer afterwards.                                   6   Glock?
    7      THE WITNESS: I am not aware of a difference in         7      A. 15 plus 1.
    8   terms of those two firearms.                              8      Q. What's the plus 1?
    9   BY MR. ADELMAN:                                           9      A. The one in the chamber.
   10      Q. Okay. And do you know whether there is any         10      Q. Okay. So does that mean you have one bullet
   11   difference between a centerfire pistol and a rimfire     11   in the chamber and then 15 --
   12   pistol?                                                  12      A. That would be, yes, correct.
   13         Do you know if there is any difference in how      13      Q. Where does the cartridge containing the 15
   14   many rounds per second each one fires?                   14   rounds go?
   15      A. No.                                                15      A. I'm sorry.
   16      Q. All right. Now, earlier you had talked about       16      Q. You said the cartridge with 15 rounds, where
   17   how the Glock is the semiautomatic, the weapon, and      17   in the Glock does that fit?
   18   you had mentioned --                                     18      A. On the handle.
   19      A. Right.                                             19      Q. It goes inside the handle?
   20      Q. You had mentioned automatic weapons.               20      A. Yes. The magazine.
   21         So you know what an automatic weapon is,           21      Q. Okay. So how many rounds per second does
   22   correct?                                                 22   your Glock fire?
   23      A. Yes.                                               23      A. Honestly, I don't shoot it that fast. So I
   24      Q. How would you describe an automatic weapon?        24   don't know that.


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    1      Q. And how many rounds per second does an              1   easily be redirected or wrestled away by an attacker?
    2   automatic weapon fire?                                    2       A. Yeah.
    3      A. I'm sorry.                                          3       MR. BERGSTROM: Objection. Form.
    4      Q. Are you familiar with AR-15s?                       4       THE WITNESS: Yes.
    5      A. Yes.                                                5   BY MR. ADELMAN:
    6      Q. And that's an automatic weapon, correct?            6       Q. Okay. Now, do you believe that a handgun is
    7      A. No. It's semiautomatic.                             7   easier to use by those without the upper body strength
    8      Q. And why do you call it semiautomatic?               8   needed to use a long gun?
    9      A. Because you pull the trigger once, and it           9       MR. BERGSTROM: Objection. Form.
   10   fires once.                                              10   BY MR. ADELMAN:
   11      Q. But an AR-15 is also considered an assault         11       Q. You can answer.
   12   weapon, correct?                                         12       A. It might be.
   13      A. Some people would label it as such.                13       Q. Okay. Well, you know what a long gun is,
   14      Q. And what do you label it as?                       14   right?
   15      A. I think assault is a matter of opinion, and        15       A. Yes.
   16   what you use it for. It's just a riffle, just a          16       Q. All right. How would you define it?
   17   weapon.                                                  17       A. Just a long -- like a rifle-like firearm. A
   18      Q. So do you consider a handgun a self defense        18   stock, long barrel.
   19   weapon?                                                  19       Q. Okay. And does lifting a long barrel gun
   20      A. Yes.                                               20   like that require two hands?
   21      Q. And it's easier to store in a location that's      21       A. I guess you could lift it with one hand, but
   22   readily accessible in an emergency, correct?             22   it's easier with two hands.
   23      A. Yes.                                               23       Q. And to use it properly do you need two hands?
   24      Q. Okay. And you could store it next to your          24       A. Yes.


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    1   bed, a handgun, correct?                                  1     Q. Okay. Whereas, it's possible to aim a
    2      A. Yes.                                                2   handgun with only one hand, correct?
    3      Q. All right. Now, where do you store your             3     A. Yes. Also correct, but it won't be as
    4   handgun, your Glock?                                      4   accurate.
    5      A. If I am in the home, I keep it in a drawer.         5     Q. Training recommends two hands, correct?
    6      Q. The drawer, is it in a table, cabinet, desk?        6     A. Yes.
    7      A. It's a cabinet.                                     7     Q. But it's still possible to use a handgun with
    8      Q. Cabinet?                                            8   one hand, correct?
    9      A. Uh-huh.                                             9     A. Yes.
   10      Q. In what room of your apartment is it in?           10     Q. So like if you are holding it in one hand,
   11      A. My room.                                           11   you can use the other hand to dial the police at the
   12      Q. In your bedroom?                                   12   same time is?
   13      A. Yes.                                               13     MR. BERGSTROM: Objection. Form.
   14      Q. Is it fair to say that one of the advantages       14   BY MR. ADELMAN:
   15   of using a handgun as a self defense weapon is that      15     Q. Correct?
   16   you can use it in the house without endangering family   16     A. Yes, correct.
   17   members?                                                 17     Q. Okay. Do you know other people who have
   18      MR. BERGSTROM: Objection. Form.                       18   handguns?
   19      THE WITNESS: I am sorry. What was the question?       19     A. Yes.
   20   BY MR. ADELMAN:                                          20     Q. Okay. How many other people do you know that
   21      Q. Is it fair to say that you can use a handgun       21   have handguns?
   22   in the house without endangering family members?         22     A. Four for five. About five.
   23      A. Yes.                                               23     Q. Okay. Are these friends, relatives?
   24      Q. Okay. And is it fair to say that it cannot         24     A. Both.



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    1     Q. Okay. So would you say that handguns then            1   BY MR. ADELMAN:
    2   are a popular choice for self defense?                    2      Q. Can you remember any other blogs that you
    3     MR. BERGSTROM: Objection. Form.                         3   visited?
    4   BY MR. ADELMAN:                                           4      A. No. I don't remember names.
    5     Q. You can answer.                                      5      Q. Okay. Now, is it your understanding that
    6     A. I would say, yes, here they're popular.              6   it's common to own an assault weapon like we
    7     Q. Now, under what circumstances would a handgun        7   discussed?
    8   be insufficient for self defense?                         8      MR. BERGSTROM: Objection. Form.
    9     MR. BERGSTROM: Objection. Form.                         9      THE WITNESS: Like what is labeled as an assault
   10   BY MR. ADELMAN:                                          10   weapon?
   11      Q. You can answer.                                    11   BY MR. ADELMAN:
   12      A. I believe it would be problematic if it was a      12      Q. Yeah.
   13   situation in which there were multiple attackers, and    13      A. Like an AR-15.
   14   perhaps they have -- they're all armed, a single         14      Q. Let's use that as an example.
   15   person with a firearm might be at a disadvantage.        15          Yeah. Is it your understanding that it's
   16     Q. So are you afraid that there would be               16   common to own an assault weapon like an AR-15?
   17   multiple people breaking in your house at the same       17      A. I believe in America the AR-15 is a pretty
   18   time?                                                    18   common weapon among various people. Obviously not
   19     A. I believe so.                                       19   here because we're not allowed to.
   20     MR. BERGSTROM: Objection. Form.                        20      Q. Okay. What do you base that opinion on?
   21   BY MR. ADELMAN:                                          21      A. Just things that I read online, and what I
   22      Q. Do you read any magazines dedicated to             22   see in terms of people who own firearms and fire them.
   23   firearms?                                                23   Them having an AR-15 is not uncommon.
   24      A. Magazines, no.                                     24      Q. And when you say things you read online, you


                                                       Page 45                                                 Page 47
    1      Q. Do you visit any websites dedicated to              1   are referring to these blog posts that you were
    2   firearms?                                                 2   talking about?
    3      A. Occasionally, yes. I will read on blog posts        3      A. Various websites.
    4   and various things.                                       4      MR. BERGSTROM: Form.
    5      Q. Can you repeat the name of it? I didn't             5   BY MR. ADELMAN:
    6   catch it.                                                 6      Q. Do you know how many assault weapons are
    7      A. No name in particular. Just various blogs.          7   owned by people in the United States?
    8   I said nothing in particular. It's just blog posts.       8      MR. BERGSTROM: Objection. Form.
    9      Q. Oh, blog posts. Okay.                               9      THE WITNESS: No.
   10      A. Yes.                                               10   BY MR. ADELMAN:
   11      Q. So what blogs do you visit?                        11      Q. Can you make a reasonable estimate of how
   12      A. I said these are -- none in particular. They       12   many are owned in the United States?
   13   are various.                                             13      MR. BERGSTROM: Objection. Form.
   14      Q. Can you think of one off the top of your           14   BY MR. ADELMAN:
   15   head?                                                    15      Q. You can answer.
   16      A. The NRA has a blog. So that's one I                16         I won't hold you to an exact number, but do
   17   sometimes read on.                                       17   you have like an estimate in mind when you consider
   18      Q. What kinds of things do you read on the blog       18   when you make this claim that it's common to own an
   19   post from the NRA?                                       19   assault weapon?
   20      MR. BERGSTROM: Objection. Relevance.                  20      MR. BERGSTROM: Objection. Form.
   21      THE WITNESS: I mean, in particular, in this           21      THE WITNESS: No.
   22   particular situation, I was trying to read something     22   BY MR. ADELMAN:
   23   on how to correct an error in my shooting.               23      Q. All right. So you have no estimate?
   24                                                            24      A. For that particular firearm, no.


                                                                                  14 (Pages 44 to 47)
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    1      Q. Or any -- it doesn't have to be an AR-15 in         1            Ms. Court Reporter, did you get that,
    2   particular but any similar type of firearm?               2   or did you need him to repeat it?
    3      MR. BERGSTROM: Same objection.                         3     THE REPORTER: The answer I have is:
    4      THE WITNESS: No.                                       4       Well, I mean, to me it doesn't seem unusual. So
    5   BY MR. ADELMAN:                                           5       I wouldn't say it's uncommon.
    6      Q. Do you think maybe it's like 5 million people       6   BY MR. ADELMAN:
    7   own firearms -- or strike that.                           7     Q. What do you base that comment that it's not
    8         5 million people own assault weapons similar        8   unusual on if you don't know how many people in the US
    9   to the AR-15?                                             9   own assault weapons, and you can't say what percentage
   10      MR. BERGSTROM: Objection. Form.                       10   of people in the US do?
   11   BY MR. ADELMAN:                                          11      MR. BERGSTROM: Objection. Form.
   12      Q. You can answer.                                    12   BY MR. ADELMAN:
   13      A. I don't know the specific number.                  13     Q. So what do you base your comment on?
   14      Q. So you don't know if it's 1 million,               14     A. To me, it seems to be -- it doesn't seem
   15   5 million, 10 million, any number like that, correct?    15   unusual for people in other states to own something
   16      MR. BERGSTROM: Objection. Asked and answered.         16   like that. Perhaps in states more down south.
   17   BY MR. ADELMAN:                                          17     Q. And what do you base that on?
   18      Q. You can answer.                                    18     MR. BERGSTROM: Objection. Form.
   19      A. As I said, I don't know a specific number.         19   BY MR. ADELMAN:
   20      Q. Okay. So if you don't know the number then         20     Q. You can answer.
   21   you can't state what percentage of people in the US      21     A. Just other things that I read online from
   22   actually own assault weapons, correct?                   22   other shooting activities that occur in other states
   23      MR. BERGSTROM: Objection. Form.                       23   in other areas. When people go shooting, they do
   24   BY MR. ADELMAN:                                          24   carry weapons like that.


                                                 Page 49                                                               Page 51
    1      Q. You can answer.                                     1       Q. Okay. But you haven't participated in any
    2      A. No, I don't know the particular percentage.         2   studies regarding assault weapons or the commonality
    3      Q. Okay. So if you don't know how many people          3   of assault weapons, correct?
    4   own an assault weapon, and you don't know what            4       A. No.
    5   percentage of the population of the United States own     5       Q. And you haven't read any studies concerning
    6   an assault weapon, how is it that you can say that        6   assault weapons, correct?
    7   it's common to own an assault weapon?                     7       A. I might have read stuff before, but I
    8      MR. BERGSTROM: Objection. Form.                        8   honestly can't remember the specifics.
    9   BY MR. ADELMAN:                                           9       Q. So as you sit here today, you can't say with
   10      Q. You can answer.                                    10   any sort of reasonable degree of certainty as to how
   11      A. I believe it's difficult to really come up         11   common or uncommon an assault weapon actually --
   12   with a number when there is -- we're thinking that big   12   ownership of an assault weapon actually is?
   13   in terms of entire population, in the population how     13       MR. BERGSTROM: Objection. Form.
   14   many have firearms, how many have that particular        14   BY MR. ADELMAN:
   15   weapon. I believe it's much more common to try to        15       Q. You just don't know, correct?
   16   come up with what is considered common than uncommon.    16       MR. BERGSTROM: Same objection.
   17      Q. Okay. Well, since you don't know the number,       17   BY MR. ADELMAN:
   18   then you don't know whether it's common or not,          18       Q. You can answer.
   19   correct?                                                 19       A. To me it seems like in other states, it is
   20      MR. BERGSTROM: Same objection.                        20   something that isn't uncommon. So I can't really --
   21      THE WITNESS: Well, I mean, to me it doesn't seem      21   it's difficult for me to say whether it's uncommon or
   22   unusual. So I wouldn't say it's uncommon.                22   common because I don't know what people have in their
   23            I am sorry.                                     23   homes.
   24      MR. ADELMAN: You were frozen there for a minute.      24       Q. Okay. So you're familiar with the Cook


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    1    County ordinance that prohibits assault weapons,             1     Q. Would you store the AR-15 loaded or unloaded?
    2    correct?                                                     2     A. Loaded.
    3       A. Well, you got cut off.                                 3     Q. And where would you store the ammunition?
    4          If I am familiar with the Cook County --               4     A. That same safe.
    5       Q. Ordinance that prohibits assault weapons,              5     Q. The ammunition that's not actually loaded in
    6    correct?                                                     6   the AR-15?
    7       A. Yes.                                                   7     A. That same safe.
    8       Q. Okay. And is there a particular type of                8     Q. You know what, this reminds me I forgot to
    9    assault weapon that you actually want to buy?                9   ask you.
   10       A. Yes.                                                  10        You had said that you store your Glock in the
   11       Q. What type is that?                                    11   cabinet drawer in your bedroom.
   12       A. One particular type is I wanted to get an             12        That's correct?
   13    AR-15.                                                      13     A. When I am here. When I am here, yes.
   14       Q. Made by who? Who is the manufacturer?                 14     Q. Yeah, at home. Do you store it loaded or
   15       A. Smith & Wesson M&P15. I am sorry.                     15   unloaded?
   16       Q. No. I didn't say anything. Why is it that             16     A. Loaded.
   17    you want to get an AR-15?                                   17     Q. And where do you keep the ammunition to your
   18       A. Also for self defense.                                18   Glock?
   19       Q. And you had said before that it would be for          19     A. I keep it in my range bag.
   20    self defense if you were attacked by multiple people        20     Q. And where is your range bag when you are at
   21    who are armed, is that the reason?                          21   home?
   22       A. Yes.                                                  22     A. In my closet.
   23       MR. BERGSTROM: Objection. Form.                          23     Q. So the Glock is stored loaded in the cabinet
   24    BY MR. ADELMAN:                                             24   drawer, and the ammunition is in the bag in your


                                                           Page 53                                                    Page 55
    1     Q. Okay. Now, in your experience, are handguns              1   closet, correct?
    2   more common than AR-15s?                                      2      A. Spare ammunition, yes.
    3     MR. BERGSTROM: Objection. Form.                             3       Q. All right. So if you were able to buy an
    4   BY MR. ADELMAN:                                               4   assault weapon like an AR-15, what's your intended use
    5     Q. In your experience, is it more common for                5   for it?
    6   people to own handguns for self defense than AR-15s?          6       A. Mainly self defense. Outside of that taking
    7     A. In Chicago, yes.                                         7   it to the range to improve my skills.
    8     Q. Okay. What about nationwide?                             8      Q. So other than for the range, that's
    9     MR. BERGSTROM: Objection. Form.                             9   self-explanatory.
   10     THE WITNESS: They seem to be the most popular,             10         But for self defense, do you mean for defense
   11   and there is also restrictions.                              11   of the home?
   12   BY MR. ADELMAN:                                              12      A. Yes.
   13     Q. So if you were allowed to purchase assault              13     Q. Do you plan to open carry it outside?
   14   weapons, how many assault weapons would you purchase?        14     A. No.
   15     A. One.                                                    15     Q. So if there is another riot in the city,
   16     Q. Where would you store it? Where would you               16   would you be taking your AR-15 out in public?
   17   store the AR-15 if you were allowed to purchase it?          17     MR. BERGSTROM: Objection. Form.
   18     A. I would purchase a long, full-sized safe to             18     THE WITNESS: I didn't hear the question.
   19   keep that.                                                   19     MR. ADELMAN: Let me rephrase it before you
   20     Q. Then would you store the weapon in there?               20   answer.
   21     A. Yes.                                                    21   BY MR. ADELMAN:
   22     Q. Okay. What room do you think you would put              22      Q. If you are allowed to buy an AR-15, and there
   23   the full-size safe in?                                       23   is another riot in the city, is it your intent to take
   24     A. Also in my room, my bedroom.                            24   the AR-15 out in public at that point?



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    1      A. No.                                                1     Q. If you know?
    2      Q. All right. So what do you know about the           2     A. I don't know.
    3   destructive potential of an AR-15?                       3     Q. So what size of magazine would you want to
    4      MR. BERGSTROM: Objection. Form.                       4   buy if you were allowed to buy an AR-15?
    5      MR. ADELMAN: All right. Let me rephrase.              5     A. Sorry.
    6   BY MR. ADELMAN:                                          6     Q. If you are allowed to buy an AR-15, what size
    7      Q. Do you know what the destructive potential of      7   magazine would you want?
    8   an AR-15 is?                                             8     MR. BERGSTROM: Objection.
    9      A. Nothing that sets if apart from -- no.             9     THE WITNESS: For now, I would stick with a
   10      Q. Well, you started to say, nothing that sets       10   10-round magazine.
   11   it apart.                                               11   BY MR. ADELMAN:
   12         So finish that thought.                           12     Q. So why would you want a 10-round magazine?
   13      A. I'm sorry.                                        13     A. I feel like it would be adequate.
   14      Q. Finish the thought. You started to say            14     Q. All right. You said for now.
   15   something, and then you stopped and then said no.       15        So what do you mean for now a 10-round
   16         So what was your thought?                         16   magazine?
   17      A. I was trying to differentiate it from like a      17     A. I don't recall saying for now.
   18   normal 9-millimeter bullet, and then I said no. It's    18     MR. ADELMAN: Madam Court Reporter, can you read
   19   a bullet. It's a firearm. So it's gonna -- it does      19   back his answer.
   20   have destructive potential like any other firearm.      20        (The record was read as requested.)
   21      Q. Is it your belief that an AR-15's destructive     21   BY MR. ADELMAN:
   22   potential is the same as a 9-millimeter?                22     Q. Okay. So what did you mean by for now?
   23      A. No.                                               23     A. Well, I would say that a 10-round magazine
   24      Q. All right. So it's not the same.                  24   would be adequate unless things change in the future


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    1         So how is it different?                            1   that would make me change my mind.
    2      A. I would say it has a bit more destructive          2      Q. What would make your change your mind?
    3   potential.                                               3      A. Something. More instability. I don't know.
    4      Q. The AR-15?                                         4   It could be anything.
    5      A. Yes.                                               5      Q. Well, so how would you define more
    6      Q. So the AR-15 has more destructive potential?       6   instability?
    7      A. It has more stopping power.                        7      A. Just more social unrest, more issues with
    8      Q. What does that mean?                               8   police response being more delayed. Something like
    9      A. It has a higher capability of taking down an       9   that that would cause me concern.
   10   attacker much quicker than the standard 9-millimeter.   10      Q. So how would you use the AR-15 in the event
   11      Q. And how does it do that?                          11   of more instability?
   12      A. It is a bit more -- it has a bit more power.      12      A. I would just protect my home here and stay
   13      Q. So what -- specifically, what do you mean by      13   inside.
   14   power? What gives it that power?                        14      Q. Do you believe that an AR-15 and weapons like
   15      A. The bullets have more energy. The bullets         15   it is deadlier than a handgun?
   16   are longer, and more black powder gives the bullet      16      MR. BERGSTROM: Objection. Form.
   17   more energy when it leaves.                             17   BY MR. ADELMAN:
   18      Q. So does that mean that the bullets go faster      18      Q. You can answer.
   19   out of an AR-15 than they do out of a 9-millimeter?     19      A. One more time.
   20      A. My understanding is yes.                          20      Q. All right. Let me rephrase that.
   21      Q. And can an AR-15 fire bullets faster -- at a      21          Do you believe an AR-15 is deadlier than a
   22   faster rate than a 9-millimeter handgun?                22   9-millimeter handgun?
   23      MR. BERGSTROM: Objection. Form.                      23      A. I think it depends on circumstances.
   24   BY MR. ADELMAN:                                         24      Q. What circumstances would it depend on?


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    1      A. It would depend on who the shooter is,             1   of it being misused.
    2   whether they're accurate, what their intentions are,     2      Q. Okay. And can you describe what you believe
    3   what they have on it. Anything.                          3   responsible ownership of an AR-15 is?
    4      Q. How does that impact how deadly a weapon is?       4      A. Same thing. Being very careful about storage
    5      A. Well, somebody --                                  5   and being trained to use the firearm properly would be
    6      Q. No. Go ahead.                                      6   responsible ownership.
    7      A. Well, somebody who is more skilled with one        7      Q. And what would irresponsible behavior be for
    8   particular weapon could be more dangerous with that      8   an AR-15 owner?
    9   particular weapon.                                       9      A. Irresponsible, you said?
   10      Q. You cut out there.                                10      Q. Yes.
   11         Again, like a person who is more skilled in?      11      A. Misusing it in any way. Using it for illegal
   12      A. I would say a person who is skilled more with     12   means, for example. Having it out when there is
   13   a particular weapon could be perceived as more deadly   13   children present.
   14   with that weapon.                                       14      Q. And so would you say an AR-15 is dangerous if
   15      Q. So if someone is skilled on both -- all           15   it's in the wrong hands?
   16   things being equal, someone who is skilled with the     16      MR. BERGSTROM: Objection. Form.
   17   AR-15 and skilled with a 9-millimeter weapon, would     17   BY MR. ADELMAN:
   18   the AR-15 be deadlier?                                  18      Q. You can answer.
   19      MR. BERGSTROM: Objection. Form.                      19      A. All firearms are dangerous in the wrong
   20      MR. ADELMAN: Well, let me rephrase that.             20   hands.
   21   BY MR. ADELMAN:                                         21      Q. Okay. What are the dangers?
   22      Q. If a person has the same skill level with         22      A. Misuse.
   23   both an AR-15 and a 9-millimeter weapon, would using    23      Q. Do you hunt?
   24   the AR-15 be deadlier than using a 9-millimeter         24      A. No.


                                                 Page 61                                                      Page 63
    1   weapon?                                                  1     Q. Have you ever gone hunting?
    2     MR. BERGSTROM: Objection. Form.                        2     A. No.
    3     THE WITNESS: Possibly.                                 3     Q. Okay. Going back to towards the beginning of
    4   BY MR. ADELMAN:                                          4   the deposition, you had mentioned that you are a
    5     Q. You said possibly?                                  5   member of the Firearms Policy Coalition.
    6     A. Yes.                                                6         Do you recall that?
    7     Q. Do you believe an AR-15 is more dangerous           7     A. Yes.
    8   than a 9-millimeter weapon?                              8     Q. Okay. Have you had any discussions whether
    9     MR. BERGSTROM: Objection. Form.                        9   by phone, virtually, or email with any members of the
   10     THE WITNESS: I believe they're both firearms.         10   Firearms Policy Coalition about this lawsuit?
   11   They are both equally dangerous in and of itself.       11     A. We've discussed it, yes, as it's progressed.
   12   BY MR. ADELMAN:                                         12     Q. Who have you discussed it with?
   13     Q. But you said before that the bullets go            13     A. Will, Peter.
   14   faster with an AR-15, correct?                          14     MR. BERGSTROM: Objection.
   15     A. Yes.                                               15   BY MR. ADELMAN:
   16     Q. An AR-15 has more power, correct?                  16     Q. Yeah, yeah. Not talking about any attorneys,
   17     A. Right.                                             17   okay, because whatever you tell your attorney is
   18     Q. Okay. Can you describe to me what you              18   privileged. So I'm not asking about that.
   19   believe responsible ownership of an automatic weapon    19         But any other members of the Firearms Policy
   20   would be?                                               20   Coalition, have you had any discussions about this
   21     A. I would say just always have it locked and         21   lawsuit?
   22   out of the hands of children. If it's going to be       22     A. One more, yes.
   23   loaded, make sure that all the adults present in the    23     Q. Who?
   24   home are responsible with it, that there is no issue    24     A. Mike. I don't remember the last name.


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    1       Q. Does he hold a leadership position with the       1      A. Yes.
    2   coalition?                                               2      Q. And when?
    3       A. I believe so.                                     3      A. I have heard of situations with mass
    4       Q. Do you know what his position is?                 4   shootings.
    5       A. I said I believe so.                              5      Q. And so what mass shootings are you referring
    6       Q. Yeah. And what is his position?                   6   to?
    7       A. He is involved in the -- I know it's the          7      A. Specifically Columbine is one.
    8   legal department. I don't know what his exact title      8      Q. And, actually, let's back up a little bit.
    9   is.                                                      9         How would you define a mass shooting?
   10       Q. Is he a lawyer or not?                           10      MR. BERGSTROM: Objection. Relevance.
   11       A. I believe so.                                    11      MR. ADELMAN: Well, he just said mass shootings
   12       Q. Okay. Then --                                    12   are a way that -- a type of misuse that he has heard
   13       MR. BERGSTROM: Objection to the extent it's         13   of.
   14   privileged.                                             14   BY MR. ADELMAN:
   15       MR. ADELMAN: Yeah. Then I am not going to ask       15      Q. So how does he define a mass shooting?
   16   anything further on him.                                16         You can answer.
   17   BY MR. ADELMAN:                                         17      A. I would go with what I believe to be the
   18       Q. Have you had any conversations with Brandon      18   FBI's definition which is when there is one shooter
   19   Combs?                                                  19   and at least four more people are shot.
   20       A. Brendan. One more time, what was the name?       20      Q. Okay. And then in these mass shootings, what
   21       Q. Brandon Combs. C-O-M-B-S.                        21   are the common weapons that are used in the mass
   22       A. That name does not sound familiar.               22   shootings you have heard about?
   23       MR. ADELMAN: Can we take a 5-minute break?          23      A. I have heard of various. Sometimes they use
   24       MR. BERGSTROM: Sure.                                24   pistols.


                                                Page 65                                                     Page 67
    1              (A break was taken.)                          1      Q. Okay. Let's go to Columbine since you
    2      MR. ADELMAN: All right. Back on the record.           2   mentioned that.
    3   BY MR. ADELMAN:                                          3          What kind of weapon did the shooter at the
    4      Q. All right. Mr. Viramontes, you had said            4   Columbine shooting use?
    5   before that you never actually shot a firearm in self    5      MR. BERGSTROM: Objection. Form.
    6   defense, correct?                                        6      THE WITNESS: That I am aware of, I believe he
    7      A. Correct.                                           7   had --
    8      Q. Have you ever pulled or brandished a firearm       8   BY MR. ADELMAN:
    9   in self defense?                                         9      Q. I am sorry. Can you repeat that?
   10      A. No.                                               10      A. I believe they had a various assortment of
   11      Q. Were you ever present in a situation where        11   weapons and firearms.
   12   someone else did that?                                  12      Q. So would that include AR-15s?
   13      A. No.                                               13      MR. BERGSTROM: Objection. Form.
   14      Q. Okay. All right. Let's take a look at the         14      THE WITNESS: I do not recall what specific type
   15   complaint, Exhibit No. 1.                               15   of rifles they had.
   16          Do you have that before you?                     16   BY MR. ADELMAN:
   17      A. Give me --                                        17      Q. Do you think an AR-15 was included among the
   18      MR. ADELMAN: Ms. Court Reporter, can you bring it    18   types of weapons that he had?
   19   so it shows paragraph No. 3.                            19      MR. BERGSTROM: Objection. Form.
   20            Actually, you know, I am changing my           20      THE WITNESS: I'm sorry.
   21   mind. You can take that down.                           21   BY MR. ADELMAN:
   22   BY MR. ADELMAN:                                         22      Q. Do you think an AR-15 is among the various
   23      Q. Now, have you ever heard of an AR-15 type of      23   assortment of rifles you said that he had?
   24   weapon ever being misused?                              24      A. I'm not sure.



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    1     Q. What other mass shootings are you aware of?         1      Q. You can answer.
    2     MR. BERGSTROM: Objection. Relevance.                   2      A. I know it wasn't a handgun, but I am not for
    3   BY MR. ADELMAN:                                          3   sure what gun in particular he had. Some sort of long
    4     Q. Let's back up a little bit.                         4   rifle.
    5         Columbine, where was that located, that mass       5      Q. Okay. Isn't it true that it was an AR-15?
    6   shooting?                                                6      MR. BERGSTROM: Objection. Form.
    7     A. Pardon.                                             7      MR. ADELMAN: Sorry. I took a breath. I wasn't
    8     Q. The Columbine shooting, what state was that         8   done.
    9   in?                                                      9      MR. BERGSTROM: Sorry.
   10     A. Colorado.                                          10   BY MR. ADELMAN:
   11     Q. All right. And you said that you've, you           11      Q. Isn't it true that the shooter used an
   12   know, in terms of a weapon -- a weapon being misused    12   AR-15-type rifle with a bumper side modification?
   13   were mass shootings.                                    13      MR. BERGSTROM: Objection. Form.
   14         So what other mass shootings besides              14      THE WITNESS: I do not recall if he had a bumper
   15   Columbine are you referring to?                         15   stock on there.
   16     A. There was another one where a student had two      16   BY MR. ADELMAN:
   17   handguns and shot various people. I do not remember     17      Q. Okay. But it was an AR-15 type of rifle?
   18   the name of that school in particular.                  18      MR. BERGSTROM: Objection. Form.
   19     Q. Can you think of anything else?                    19   BY MR. ADELMAN:
   20     A. There was that one incident at the concert, I      20      Q. Correct?
   21   believe.                                                21      A. I'm not sure.
   22     Q. Are you talking about the one in Las Vegas?        22      Q. Okay. But either way it certainly was not a
   23     A. I believe it was Las Vegas, actually. I'm          23   handgun, correct?
   24   not sure.                                               24      MR. BERGSTROM: Objection. Form.


                                                Page 69                                                      Page 71
    1      Q. Are you familiar -- let's see. Well, do you        1      THE WITNESS: Correct.
    2   recall that there was a mass shooting at a country       2   BY MR. ADELMAN:
    3   music concert in Las Vegas within the last few years?    3      Q. That was correct?
    4      MR. BERGSTROM: Objection. Relevance, form.            4      A. Yes.
    5      THE WITNESS: It sounds familiar.                      5      Q. Okay. Do you have any knowledge generally
    6   BY MR. ADELMAN:                                          6   about the fatality rate of shooting when an AR-15 is
    7      Q. Well, do you recall hearing about it?              7   used as opposed to a non -- as opposed to handgun?
    8      A. If it's what I think it is, I do remember          8      MR. BERGSTROM: Objection. Relevance, form.
    9   something like that.                                     9      THE WITNESS: No. I don't know specific numbers.
   10      Q. All right. Well, what do you think it is?         10   BY MR. ADELMAN:
   11      MR. BERGSTROM: Same objection.                       11      Q. What about generally?
   12      THE WITNESS: I do remember an incident where         12      MR. BERGSTROM: Same objection.
   13   somebody fired from a hotel, I believe.                 13      THE WITNESS: I can't say generally.
   14   BY MR. ADELMAN:                                         14   BY MR. ADELMAN:
   15      Q. Okay. What kinds of weapons do you recall         15      Q. What is your understanding of how shootings
   16   that the person used?                                   16   differ when an automatic -- when an assault weapon --
   17      MR. BERGSTROM: Objection. Form.                      17   sorry. Let me start over.
   18      THE WITNESS: I do not know what particular model     18         What is your understanding of how shootings
   19   weapons he had.                                         19   differ when an assault weapon is used versus a
   20   BY MR. ADELMAN:                                         20   non-assault weapon?
   21      Q. Well, the category? What kind of category?        21      MR. BERGSTROM: Same objection.
   22   It wasn't a handgun, correct?                           22      THE WITNESS: I believe it's still a shooting.
   23      MR. BERGSTROM: Same objection.                       23   BY MR. ADELMAN:
   24   BY MR. ADELMAN:                                         24      Q. And how do those shootings differ based on



                                                                                 20 (Pages 68 to 71)
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    1   your understanding?                                       1     A. Yes.
    2      MR. BERGSTROM: Same objection.                         2     Q. They're allowed in Colorado where the
    3      THE WITNESS: I didn't hear.                            3   Columbine shooting happened, correct?
    4   BY MR. ADELMAN:                                           4     A. I don't know how it is there now.
    5      Q. What is your understanding of how those             5     Q. Well, back when the Columbine shooting
    6   different types of shootings differ -- how a shooting     6   happened, do you know whether or not assault weapons
    7   differs when an assault weapon is used versus a           7   like the AR-15 were allowed in Colorado?
    8   non-assault weapon?                                       8      A. No, I do not know if they owned those legally
    9      MR. BERGSTROM: Same objection.                         9   or not.
   10      THE WITNESS: I can't say how in particular they       10     Q. Well, that's not my question as to whether
   11   differ.                                                  11   they owned it legally because it is possible to not
   12   BY MR. ADELMAN:                                          12   own something legally even though the category is
   13      Q. Do you think increased firepower of an             13   allowed.
   14   assault weapon, isn't it true that there would be more   14      A. Yes.
   15   casualties in a shooting that is done by an assault      15     Q. So I am asking about whether the State of
   16   weapon as opposed to a non-assault weapon?               16   Colorado at the time of the Columbine shooting to your
   17      MR. BERGSTROM: Objection. Form. Relevance.            17   knowledge allowed AR-15s and similar assault weapons?
   18   BY MR. ADELMAN:                                          18     A. I am unsure of their legal status at that
   19      Q. You can answer.                                    19   time.
   20      A. I think it depends.                                20     Q. Okay. So have you been personally impacted
   21      Q. And depends on what?                               21   by a mass shooting?
   22      MR. BERGSTROM: Objection. Form.                       22     A. No.
   23      THE WITNESS: It depends on the assault weapon or      23     Q. Have you been impacted from watching a mass
   24   what is labeled as an assault weapon.                    24   shooting on TV?


                                                 Page 73                                                            Page 75
    1   BY MR. ADELMAN:                                           1      A. I mean, I feel terrible for the event that
    2      Q. Well, we have been talking about AR-15s and         2   occurs. Sympathy.
    3   similar models.                                           3      Q. So do you have any other emotional reaction
    4          So using that as a definition, wouldn't that       4   to hearing about mass shooting events on television or
    5   be correct?                                               5   on the internet?
    6      A. Well, it depends because AR-15s have various        6      A. Mostly just sympathy for those affected.
    7   calibers as well.                                         7      Q. Do you have any concern that a mass shooting
    8      Q. Okay. Well, explain that to me.                     8   may occur at a public event you are attending?
    9      A. I mean, it could be a 2-2-3. It could be a          9      A. Like in general?
   10   5-5-6. It could even be -- there are some AR-15s that    10      Q. Yeah.
   11   are like a long rifle.                                   11      A. It's always possible.
   12         A lot of people would say that is an inferior      12      Q. Do you have any actual concern that it may
   13   round than like the standard 9-millimeter.               13   happen?
   14      Q. Now, assault weapons like the AR-15 are not        14      A. Yes.
   15   allowed in Illinois, correct?                            15      Q. Do you feel relatively safe?
   16      A. One more time.                                     16      A. I always have some concern.
   17      Q. Assault weapons like the AR-15 are not             17      Q. But not an overwhelming concern?
   18   allowed in Illinois, correct?                            18      A. Not overwhelming, correct.
   19      A. In Cook County.                                    19      Q. Okay. And the same for when you are in a
   20      Q. All right. They are not allowed in Cook            20   public place?
   21   County, correct?                                         21      A. Uh-huh.
   22      A. Yes.                                               22      Q. Even if it's not a public event, it's the
   23      Q. But they are allowed in other states,              23   same for being out in public. You don't have any
   24   correct?                                                 24   overwhelming concern about a mass shooting here in


                                                                                    21 (Pages 72 to 75)
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    1   Cook County, correct?                                 1   THE REPORTER: Format?
    2      MR. BERGSTROM: Objection. Form.                    2   MR. BERGSTROM: PDF.
    3      THE WITNESS: I feel it's still possible here in    3
    4   Cook County.                                                      ****
    5   BY MR. ADELMAN:                                       4
    6      Q. But it's not an overwhelming concern,           5
    7   correct?                                              6
    8      A. It's not an overwhelming concern.               7
    9      Q. Do you have any kids?                           8
   10      A. No.                                             9
   11      Q. Do you have any relatives who are in school
                                                             10
   12   at the moment?
                                                             11
   13      A. No.
                                                             12
                                                             13
   14      MR. ADELMAN: All right. I may be done. Just
                                                             14
   15   give me a couple minutes to review off the record.
                                                             15
   16              (A break was taken.)
                                                             16
   17      MR. ADELMAN: Back on the record.                  17
   18   BY MR. ADELMAN:                                      18
   19      Q. Okay. Mr. Viramontes, you had said that you    19
   20   had been a realtor for a little while --             20
   21      A. Yes.                                           21
   22      Q. -- correct?                                    22
   23      A. Yes.                                           23
   24      Q. Okay. Do you currently have an active          24

                                              Page 77
    1   realtor license?
    2     A. Yes. For two more months.
    3     Q. And when does it expire?
    4     A. It ends in April.
    5     Q. Did you plan on renewing it?
    6     A. No.
    7     Q. So you are just sticking with the job at
    8   Onward Technologies then, correct?
    9     A. Correct.
   10     MR. ADELMAN: All right. At this point I have
   11   nothing further subject to redirect.
   12            So, Counsel, if you want to cross him.
   13     MR. BERGSTROM: No questions for me.
   14     MR. ADELMAN: Okay. Are you reserving signature?
   15     MR. BERGSTROM: Yeah. We'll read and review.
   16     MR. ADELMAN: Okay. All right. That's all.
   17   Thank you very much, Mr. Viramontes.
   18     THE WITNESS: Thank you.
   19     MR. ADELMAN: And, Sally, off the record now.
   20   We'll order.
   21     THE REPORTER: What format do you prefer?
   22     MR. ADELMAN: PDF.
   23     THE REPORTER: Counsel, do you want a copy?
   24     MR. BERGSTROM: Yes, please.



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    1                IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
    2                          EASTERN DIVISION
    3
    4
    5                     VIRAMONTES vs. COUNTY OF COOK
                                  1:21-CV-04595
    6
    7                      I hereby certify that I have read the
    8    foregoing transcript of my deposition given on
    9    Wednesday, February 9, 2022, consisting of pages 1
  10     through 80 inclusive, and I do again subscribe and
  11     make oath that the same is a true, correct, and
  12     complete transcript of my deposition so given as
  13     aforesaid as it now appears.
  14
  15                          Please check one:
  16                          ________      I have no corrections.
  17                                        Number of errata sheets
                              ________      enclosed.
  18
  19                          __________________________________
                                        CUTBERTO VIRAMONTES
  20
  21     SUBSCRIBED AND SWORN TO
         before me this__________
  22     day of______________20__.
  23
         ______________________
  24     Notary Public


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                                                                        Page 80
    1    STATE OF ILLINOIS                )
                                          ) SS.
    2    COUNTY OF COOK                   )
    3
    4              I, Sally A. Durkin, Illinois CSR, and Notary
         Public, do hereby certify that on Wednesday, February
    5    9, 2022, at the hour of 9:30 o'clock a.m. appeared
         before me via Zoom videoconference from Chicago,
    6    Illinois, CUTBERTO VIRAMONTES, in a certain cause now
         pending and undetermined in the Circuit Court of Cook
    7    County, County Department, Law Division.
                   I further certify that the said witness was
    8    first duly sworn to testify to the truth, the whole
         truth, and nothing but the truth in the cause
    9    aforesaid; that the testimony then given by said
         witness was reported stenographically by me in the
  10     presence of the said witness, and afterwards was
         transcribed via computer-aided transcription, and the
  11     foregoing is a true and correct transcript of the
         testimony so given by said witness.
  12               I further certify that I am not counsel for
         nor in any way related to any of the parties to this
  13     suit nor am I in any way interested in the outcome
         thereof.
  14               IN TESTIMONY WHEREOF, I have hereunto set my
         hand and affixed my notarial seal on February 25,
  15     2022.
  16
  17
                                     _______________________
  18                                 Sally A. Durkin, CSR
                                     State of Illinois
  19                                 CSR License No. 003144
                                     161 North Clark Street
  20                                 Suite 3050
                                     Chicago, Illinois 60601
  21                                 (312) 361-8851
  22
  23
  24


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